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                   IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                             BILLINGS DIVISION


THE NORTHERN CHEYENNE TRIBE,

                Plaintiff,

     v.
                                                 No. CV 22-75-BLG-SPW-TJC

THE UNITED STATES OF AMERICA;
the UNITED STATES DEPARTMENT
OF THE INTERIOR; the BUREAU OF                   PLANTIFF’S PRELIMINARY
INDIAN AFFAIRS; DEBRA                            PRETRIAL STATEMENT
HAALAND, in her official capacity as
Secretary of the Interior; BRYAN
NEWLAND, in his official capacity as
Assistant Secretary of the Interior-Indian
Affairs; and RICHARD MELVILLE, in
his official capacity as Director, Bureau
of Indian Affairs-Office of Justice
Services,

                             Defendants.


          Plaintiffs hereby submit this Preliminary Pretrial Statement pursuant to Local

Rule 16.2(b)(1) and the Court’s September 1, 2023 Order (ECF No. 37).

1.   Brief Factual Outline of the Case

          Plaintiff is a federally recognized Indian tribe governing and occupying the

Northern Cheyenne Reservation (“the Reservation”) in southeastern Montana. The




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Reservation is approximately 444,000 acres and home to approximately 5,000 Tribal

members.

      Defendants are obligated by federal law to provide adequate law enforcement

services to Plaintiff within its Reservation. This obligation is outlined in federal

statutes, regulations and at least one treaty between the United States and Plaintiff.

The Bureau of Indian Affairs, Office of Justice Services (“BIA-OJS”) provides

uniformed patrol, dispatch and corrections functions to the Tribe on a direct-service

basis, and oversight and funding via a self-determination contract for the Tribe to

provide criminal investigations services. Since at least 2018, Defendants have

continuously failed to provide competent and effective law enforcement and

corrections services to the Tribe’s Reservation, despite the Tribe’s repeated requests

for Defendants to rectify the issues.

      Defendants fail to maintain adequate police staffing levels. There are

frequently only two patrol officers on duty, with responsibility as first responders

for the entire Reservation. Two on-duty officers are insufficient. The nearest jail for

holding arrestees is a 2-hour round trip from Lame Deer, which means that if one

officer is transporting prisoners, only one officer is left on duty on the Reservation

to provide police services to 5,000 people spread across 444,000 acres.

      Defendants’ officers fail to timely respond to calls for service by Tribal

members and sometimes fail to respond at all. As a result, Tribal members often


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choose to not call for police services when crimes are committed, instead engaging

in self-help.

       Defendants fail to properly handle evidence and refer cases for prosecution.

The Tribal Prosecutor has dismissed cases in Tribal Court because Defendants’

officers failed to properly document their investigations or neglected to appear for

hearings. Federal prosecutions have failed to result in convictions due to Defendants’

sloppy and incompetent police work.

       Defendants fail to maintain adequate local and regional detention facilities.

Defendants closed the Lame Deer Adult Detention Center (“LDADC”), the only jail

on the Reservation, in 2019 after letting the facility deteriorate for years. They

reopened the LDADC in 2021 but only for 8-hour holds of up to nine individuals

held on intoxication charges. In 2022 Defendants unilaterally decided to use the

LDADC for temporarily holding juveniles. Currently, there is no local facility to

hold adult offenders within the Reservation. The primary detention facility is now

the Rocky Mountain Regional Detention Facility (“RMRDF”) in Hardin, 56 miles

away, but due to understaffing, it too is insufficient. The RMRDF is a regional

facility that serves multiple Tribes, but is currently limited to 25% capacity by

Defendants. Defendants’ response to these problems is to ship Northern Cheyenne

detainees to contract facilities in Oklahoma, over 1,000 miles away.




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      Defendants have failed to provide adequate rehabilitative services to

offenders, which results in high recidivism rates. The majority of persons detained

by Defendants under Northern Cheyenne Tribal Court orders or on Tribal law

charges are held for drug- or alcohol-related offenses. The Tribal Court has a

Healing-to-Wellness Program, also known as “drug court,” to help connect non-

violent drug offenders with services to minimize recidivism. To participate in the

Healing-to-Wellness Program, offenders must have access to services in Lame Deer

and appear before the Tribal Court once per week. Inmates being held in distant

facilities are unable to participate in the program and since the local LDADC closed,

participation in the Healing-to-Wellness program has declined.

      The Tribe has made repeated requests to Defendants in the last few years to

increase staffing of the Tribe’s police department, to improve the Tribe’s local and

regional detention facilities, to improve the police department’s responsiveness and

professionalism, and to provide rehabilitation services, without success.

      Defendants’ failure to provide adequate law enforcement services to

Plaintiff’s Reservation has injured Plaintiff. The lack of detention facilities causes

police to not arrest offenders because there is no facility available to hold persons

after arrest. There are over 1,000 open arrest warrants within the Reservation

because there is no detention facility to hold these persons once they are arrested.

Data publicly released by Defendants states that between 2019 and 2020, reported


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violent crime on the Reservation increased 50%, but Defendants’ inadequate

recordkeeping means that there is not reliable and accurate crime data for the

Reservation. Further, the lack of response to calls for service, due to inadequate

staffing, results in many Tribal members deciding not to call the police for

assistance, leading to underreporting of crime. But crime is still occurring; non-

violent crime, including drug-related crimes, is rampant. There is a major problem

with missing persons within the Reservation; Tribal members regularly disappear

and such cases receive little law enforcement attention.

2.    Basis for Federal Jurisdiction and Venue

      This Court has jurisdiction over the subject matter under 28 U.S.C. §§ 1331,

1361 and 1362 because this is a civil action arising under the Constitution, laws and

treaties of the United States, including 5 U.S.C. § 702; 25 U.S.C. §§ 13, 2801, 2802

and 3601; 18 U.S.C. §§ 1152 and 1153; the 1868 Treaty of Fort Laramie, 15 Stat.

655 (May 10, 1868); 25 C.F.R. Part 12; and the common law of trusts; and is brought

by an Indian tribe with a governing body duly recognized by the Secretary of the

Interior, to compel Defendants to perform duties owed to Plaintiff.

      Venue is proper in the District of Montana under 28 U.S.C. § 1391(b) and (e)

because an officer or employee of the United States is a defendant and a substantial

part of the events or omissions giving rise to the claim occurred in this District.

Specifically, the events or omissions occurred in Rosebud and Big Horn Counties,


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where the Tribe’s Reservation is located. For the same reason, venue is proper in

this Division under L.R. 3.2(b)(1).

3.       Factual and Legal Basis of Each Claim.

         A.    Law Providing Source of Defendants’ Duties

         A tribe properly brings a breach of trust claim against the federal government

when it “identif[ies] a substantive source of law that establishes specific fiduciary

duties, and allege[s] that the Government has failed faithfully to perform those

duties.” United States v. Navajo Nation, 537 U.S. 488, 506 (2003) (citing United

States v. Mitchell, 463 U.S. 206, 216-17, 219 (1983) (Mitchell II). Though the

United States Supreme Court has long recognized “the undisputed existence of a

general trust relationship between the United States and the Indian people,” Mitchell

II, 463 U.S. at 225, in order for a tribe to bring a cognizable claim for breach of trust,

a “substantive right must be found in some . . . source of law, such as the

Constitution, or any Act of Congress, or any regulation of an executive department.”

Id. at 216 (internal quotation omitted); see also United States v. Jicarilla Apache

Nation, 131 S. Ct. 2313, 2318 (2011) (stating “trust obligations of the United States

to the Indian tribes are established and governed by statute rather than common

law”).

         While Navajo Nation and “Mitchell II involved a claim for damages, nothing

in that decision or other Indian cases would imply that appellants are not entitled to


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declaratory or injunctive relief. Such remedies are the traditional ones for violations

of trust duties.” Cobell v. Norton, 240 F.3d 1081, 1101 (D.C. Cir. 2001); see also

id. at 1107-08; Tohono O’Odham Nation v. United States, 79 Fed. Cl. 645, 657

(2007) (“[A] traditional common law breach of trust claim is an action in equity ….

As is explained in the Restatement (Second) of Trusts, in addition to seeking purely

injunctive or declaratory relief, the beneficiary can recover any loss or depreciation

in value of the trust estate resulting from the breach of trust.”) (internal citations

omitted).

      Numerous substantive sources of law establish and evince the federal

government’s longstanding, specific fiduciary duty to provide effective law

enforcement for tribes. See United States v. Kagama, 118 U.S. 375, 384 (1886)

(“[D]ue to the course of dealing of the federal government with [the Tribes], and the

treaties in which it has been promised, there arises the duty of protection, and with

it the power.”); Ex parte Crow Dog, 109 U.S. 556, 569 (1883) (“The corresponding

obligation of protection on the part of the government is … that each individual shall

be protected in his rights of property, person, and life, and that obligation was to be

fulfilled by the enforcement of the laws then existing to those objects, and by the

future appropriate legislation which was promised to secure to them an orderly

government.”). The laws we would rely upon to establish this fiduciary duty

include:


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   • The Treaty of Fort Laramie with the Northern Cheyenne and Northern

      Arapaho, 15 Stat. 655 (May 10, 1868)

   • Indian Law Enforcement Reform Act (25 U.S.C. Chap. 30), i.e. 25 U.S.C. §

      2802

   • ILERA implementing regulations (25 C.F.R. Part 12)

   • Tribal Law and Order Act (25 U.S.C. § 2801 note, P.L. 111-211)

   • Indian Tribal Justice Act (25 U.S.C. Chap. 38)

   • Major Crimes Act (18 U.S.C. § 1153)

   • Indian Country Crimes Act (18 U.S.C. § 1152)

   • Snyder Act (25 U.S.C. § 13)


      B.     Claim I: Declaratory Relief.

      Plaintiff requests that the Court declares, pursuant to the authority granted the

Court under 28 U.S.C. § 2201(a) and under the common law of trusts, that

Defendants have failed to fulfill their legal obligations to provide law and order on

the Reservation. The well-established trust relationship between Defendants and

Plaintiff, and the fiduciary duties assumed therein, are derived from multiple treaty,

statutory, and regulatory provisions governing the administration of law and order

within Indian country. However, despite this delineated duty, Defendants have failed

to provide adequate law and order services to the Reservation. This breach is


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materialized in many ways including by Defendants’ failure to: (1) maintain

adequate police staffing levels; (2) respond to calls for service by Tribal members;

(3) properly investigate crimes; (4) refer cases for prosecution; (5) maintain adequate

local and regional detention facilities; and (6) provide adequate rehabilitative

services.

      C.     Claim II: Mandamus Relief.

      Defendants have failed to perform their nondiscretionary duties to the Tribe

and there is no adequate administrative remedy available. Plaintiff requests that the

Court compel Defendants, pursuant to the authority granted to the Court under 28

U.S.C. § 1361, to perform their duties owed to Plaintiff to provide adequate law

enforcement services. Defendants have nondiscretionary duties to comply with the

treaty, statutes, and regulations cited in Plaintiff’s complaint. Defendants have failed

to provide adequate law enforcement and correctional services on the Reservation,

which has resulted in an increase in crime rates, slow response times or no response

at all to 911 calls made by Tribal members, and over 1,000 open arrest warrants for

persons who might be found on the Reservation. Despite clearly outlined,

nondiscretionary duties to provide law enforcement services to the Reservation,

Defendants have left Plaintiff without an appropriately staffed police department and

correctional facilities that can adequately house offenders.

      D.     Claim III: Injunctive Relief.


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      Defendant’s failure to provide law and order on the Reservation has resulted

in irreparable injuries to Plaintiff for which Plaintiff is without remedies. The Court

has authority to award injunctive relief under 28 U.S.C. § 2202 and the common law

of trusts. Where the balance of hardships strongly favors injunctive relief and such

relief is in the public interest, a plaintiff should be awarded such relief requested. As

a direct result of Defendant’s inadequate law and order services, the Tribal Court is

unable to properly function. Defendants’ officers fail to properly collect and store

evidence to be used by Tribal and Federal prosecutors, and officers often fail to

appear at court hearings which often amounts to the dismissal of criminal actions. In

addition, Defendants’ officers fail to respond to Tribal members’ 911 calls are and

when they do respond, offenders are either not jailed or are driven some 1,000 miles

away for detention in Oklahoma. These inadequacies have resulted in high rates of

alcohol- and drug-related crimes and crimes related to missing and murdered

Indigenous persons on the Reservation. The balance of hardships strongly favors

injunctive relief, and such relief is squarely in the public interest.

      E.     Claim IV: Equitable Relief.

      Plaintiff seeks reimbursement and restitution from Defendants of funds

Plaintiff spent on law enforcement functions that should have been funded and

provided by Defendants. Plaintiff attempted to improve the failing federal system of

law and order on the Reservation by taking actions to increase public safety. To date,


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the Tribe has spent over $1,000,000 of its own monies to provide law enforcement

services on the Reservation, including safety checkpoints. These funds would not

have been expended but for Defendants’ failure to uphold their duty to provide law

and order services to the Reservation. Restitution and other equitable remedies are

typical remedies for breach of fiduciary duty. See Restatement (Third) of Trusts §

95 (2012).

4.    Computation of Damages.

      Plaintiff is not seeking damages. If successful, the Tribe would seek costs

and attorney fees under 28 U.S.C. § 2412 and any other applicable law.

5.    Status of Related State or Federal Litigation.

      There is not currently any related state or federal litigation pending between

Plaintiff and Defendants. The parties are currently attempting to resolve issues

relating to negotiation of a self-determination contract for Plaintiff to administer

Defendants’ dispatch functions within the Reservation and Plaintiff hopes that

litigation over the contract can be avoided. Plaintiff will notify the Court if and when

related litigation commences.

      Another tribe in another District has filed a lawsuit against Defendants

alleging similar breach of trust claims relating to law enforcement. That case, Oglala

Sioux Tribe v. United States, 5:22-CV-05066-RAL (District of South Dakota), is




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currently in discovery after the Plaintiff Tribe defeated a motion to dismiss and

partially prevailed in obtaining a preliminary injunction.

6.    Proposed Additional Stipulations of Fact Not Included in the Joint
      Statement of Stipulated Facts

      Plaintiffs propose these additional stipulations of fact, which were admitted

in Defendants’ Answer (ECF No. 36) but to which Defendants would not agree to

include in the Joint Statement of Stipulated Facts (ECF No. 50):

      A.      Northern Cheyenne Tribal members are accustomed to calling 911,

              which      is     administered      by         BIA-OJS    under     its

              telecommunications/dispatch function for emergency assistance.

      B.      Without a permanent chief of police, officers from outside the

              Reservation rotate through as “acting” chiefs, often staying only 30

              days before being replaced by another officer in “acting” status.

      C.      The Tribe has made repeated requests to Defendants in the last few

              years to increase staffing of the Tribe’s police department, to improve

              the Tribe’s local and regional detention facilities, and to improve the

              police department’s responsiveness and professionalism.

      D.      On December 15, 2020, the Tribe filed suit against OJS challenging

              BIA-OJS’ declination of the Tribe’s Indian Self-Determination and

              Education Assistance Act (“ISDEAA”) contract proposal for the

              criminal investigations program.
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 E.     On November 24, 2021, BIA-OJS and the Tribe executed Contract No.

        A22AV00387, whereby the Tribe assumed and began operating the

        criminal investigations program under the Tribally-administered

        Northern Cheyenne Investigative Services (“NCIS”) with funding

        from BIA-OJS under the ISDEAA.

 F.     The Tribe hired two former BIA police officers to work for the NCIS.

        NCIS assumed responsibility for staffing Tribal checkpoints.

 G.     Until December 3, 2021, criminal investigators on the Reservation

        were funded, employed, and managed by BIA-OJS.

 H.     In addition to BIA-OJS, NCIS works with the United States

        Department of Justice, Federal Bureau of Investigation, and the Drug

        Enforcement Agency.

 I.     BIA-OJS funds Division of Drug Enforcement (“DDE”) and Missing

        and Murdered Unit (“MMU”) agents on a national level to provide

        specialized investigative services to tribes.

 J.     National-level DDE agents are not assigned to the Northern Cheyenne

        Reservation specifically and BIA declined Plaintiff’s request to

        contract a DDE Special Agent position under the ISDEAA.

 K.     There are no MMU agents assigned to the Reservation specifically.




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 L.     The local Lame Deer Adult Detention Center (“LDADC”) is located

        within the Reservation. After operating for many years, BIA closed it

        in 2019 due to overcrowding and the facility’s poor condition.

 M.     The Tribe repeatedly asked BIA to re-open LDADC in any capacity,

        in the short term, while working toward re-opening the facility to full

        capacity. It reopened in June 2021 as a temporary hold facility for no

        more than nine detainees, who can be held up to only eight hours and

        only on intoxication charges.

 N.     OJS closed the Busby Youth Services Center for repairs on October

        23, 2022. Since that time, OJS has been using the LDADC to hold

        juveniles on a temporary basis. The LDADC cannot be used to hold

        any adults when juveniles are present.

 O.     The primary adult detention facility for the Northern Cheyenne

        Reservation is the Rocky Mountain Regional Detention Facility

        (“RMRDF”) in Hardin, Montana, which opened in April 2019.

 P.     Since April 2019, BIA utilizes the RMRDF through a contract with the

        facility to house BIA-OJS detainees. It is a 400-bed facility but

        currently only accepts approximately 100 detainees, which is further

        divided between detainees from the Crow Reservation and the

        Reservation.


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 Q.     The RMRDF is 56 miles from the Tribe’s headquarters in Lame Deer.

 R.     If an arrestee should be detained for longer than eight hours and for

        any reason other than intoxication, law enforcement personnel must

        dedicate at least two hours for round-trip travel between Lame Deer

        and Hardin.

 S.     Due to RMRDF’s limited capacity, BIA frequently sends detainees

        from the Reservation to contract detention facilities in Oklahoma,

        approximately 1,000 miles away. One regularly used facility is in Kay

        County, Oklahoma which is nearly a 2,000-mile roundtrip from Lame

        Deer.

 T.     The majority of persons detained by BIA-OJS under Northern

        Cheyenne Tribal Court orders or on Tribal law charges are held for

        drug- or alcohol-related offenses.

 U.     The Tribal Court has a Healing-to-Wellness Program, also known as a

        “drug court,” to help connect non-violent drug offenders with services

        to minimize recidivism.

 V.     There are approximately 1,000 open arrest warrants on the

        Reservation.

 W.     On May 10, 2022, the Tribe sent Defendants a formal request for

        action. That letter demanded immediate action to increase staffing of


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              the Tribe’s police department, fully reopen LDADC, and address

              capacity limitations at the RMRDF within 60 days.

      X.      As of July 19, 2022, Defendants had not responded to the Tribe’s letter.



Plaintiff expects to propose stipulations of fact not included in the parties’ Statement

of Stipulated Facts after discovery is completed.

7.    Proposed Deadline for Joinder and Amending Pleadings.

      The parties’ joint discovery plan (ECF No. 49) proposes January 15, 2024 as

the deadline for joinder of parties and amending pleadings. Plaintiffs do not intend

to join any other parties, but reserve the right to amend the Complaint based on new

information and changing circumstances.

8.     Identification of Controlling Issues of Law for Pretrial Disposition.

      Resolution of this action will involve interpretation of the treaty, statutes and

regulations in Part 3.A above, as well as application of the common law of trusts and

specifically common law germane to breach of trust claims, to the facts stated above,

as supplemented if necessary and appropriate. Whether Defendants have fiduciary

duties related to law enforcement is an issue of law that could be resolved on

summary judgment. Whether Defendants have breached those duties could also be

resolved on summary judgment. Some or all of Defendants’ affirmative defenses

may be addressed on summary judgment as well.


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9.     Identification of Each Individual with Information.

       Plaintiff’s current and former elected officials, employees and Tribal

members, as well as Defendants’ current and former appointed officials and

employees, have potentially discoverable information that Plaintiff would use to

support its claims. A complete list of such individuals will be disclosed to

Defendants in Plaintiff’s initial disclosures under Fed. R. Civ. P. 26.

10.    Insurance Agreement

       There is no insurance agreement that may cover the resulting judgment;

regardless, no money damages are sought.

11.    Settlement Discussions

       The parties spent the better part of a year attempting to resolve this case. The

parties met in person twice, exchanged several detailed letters, and counsel for the

parties had several phone calls, all with the goal of resolving this case. Based on

these discussions and the nature of the claims, at this time Plaintiff believes it

unlikely that the parties will be able to settle this case.

12.    Suitability of Special Procedures

       None.

Dated this 19th day of October, 2023.

                                   Respectfully submitted,

                                   /s/ Brian W. Chestnut
                                   Brian W. Chestnut, WA Bar #23453 (pro hac vice)
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                        Beth Baldwin, WA Bar #46018 (pro hac vice)
                        Anna E. Brady, Montana Bar #66826441
                        Liliana Elliott, AZ Bar #038284 (pro hac vice)

                        ZIONTZ CHESTNUT
                        2101 Fourth Avenue, Suite 1230
                        Seattle, WA 98121
                        Tel. (206) 448-1230
                        Fax (206) 448-0962
                        bchestnut@ziontzchestnut.com
                        bbaldwin@ziontzchestnut.com
                        abrady@ziontzchestnut.com
                        lelliott@ziontzchestnut.com

                        Attorneys for Plaintiff




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                         CERTIFICATE OF SERVICE

      I certify that on October 19, 2023, I served a copy of the foregoing upon the
parties as follows:


 RANDY J. TANNER                           Via:
 Assistant U.S. Attorney
 U.S. Attorney’s Office                    [X] CM/ECF
 P.O. Box 8329                             [ ] U.S. First Class Mail
 Missoula, MT 59807                        [ ] Email
 101 E Front Street, Suite 401             [ ] Fax
 Missoula, MT 59802
 Phone: (406) 329-4268
 FAX: (406) 542-1476
 Email: randy.tanner@usdoj.gov

 MARK STEGER SMITH                         Via:
 Assistant U.S. Attorneys
 U.S. Attorney’s Office                    [X] CM/ECF
 2601 Second Avenue North, Suite           [ ] U.S. First Class Mail
 3200                                      [ ] Email
 Billings, MT 59101                        [ ] Fax
 Phone: (406) 247-4667
 Fax: (406) 657-6058
 Email: Mark.Smith3@usdoj.gov

 Attorneys for Defendants



Dated this 19th day of October 2023.

                                       s/ Laura Bartholet
                                       Laura Bartholet, Paralegal/Legal Assistant




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